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assumption that the iv'le|n B_uilding had a f_ul_l concrete structural frame with concrete floors and
concrete columns was incorrect and instead,ithe:buildi_ng was a combination concrete interior
column and interior slab frame with the perimeter of§t_`he building constructed with load bearing
clay tile which is much more fragile during this particular demolition project involving removing
a narrow "l.|nk'.' building sandwiched between two existing buildings that are intended to remain
in place. ' ' ' '

§ Fur.therrno_re, as the pro_]ect’s structural engineer, ivir. Lam was negligent in not preparing
operations were underway, to guard against careless actions of the contractor and assure that
braces were installed against the wall and at the floors to protect property and personnel and
guard against improper contractor procedures Re'fer to Role of the Structural Eng_ineer in
Derno|ltion by Rob _Clarke, PE. §http .//rwcl'arke com/PubRole. htmi '

5.2' Lam‘s observations `and theory of collapse

On O`ctober18, 2010 _Fr_anl< L§a_rh & Associates, inc. reported on their investigation of the :: ; .-
i Partial Collap_se of t_hfe ivlai_n Buiidlng and included in their report diagramed information l
pertaining t'o the damage areas Refer to E_xhiblts 8, 9, 10 and 11. ~

The Lam engineers'_had conducted inspections on S§ept_ember 22, 2010 and Octob`er 8, 2010.
They reported:

o "East Lini<- The East Llnl< structure was completely demolished with the exception of
some reber spanning between the buildings Dur_lng the demolition of the iinlc, an
approximately 12 ft by 60 ft long section of the west side of the l\/la'in Building was also .1
damaged and collapsed The collapsed members include the concrete beams and slab '
at the second floor and roof load bearing clay tile and brick veneer wails, exterior
masonry columns, and concrete masonry unit infill at the wall opening Part of the
second floor and roof slab is still hanging by the rebar and the two wing walls a__t the
north and south of the building are still remaining but have suffered severe damages
and separation The floor and roof beams had rotated and pulled out from the masonry
walls, leaving a pocket ln_ the walls. lt appears that the collapse stops at the first interior
beam along Grid 15. " See Ex_hlb|ts 8, 9, 10 and 11. '

c : West Linl< At the west side of the main building (pag_e 2), the West Link structure (h§ad
been) almost completely demolished except the concrete columns and tie beams ` ’
attached to the l\/lain B§uildl_ng. The masonry walls `o_f the |§Vlain Building appearto be in
satisfactory condition except at the two hollow masonry columns located at the stair.

The masonry columns are sitting on top of concrete columns which are terminated near
= the floor level St'riuctural cracks are observed above the concrete columns."

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n 5.3 Probeble cause of collapse and sequence ot eventsz
Pertlnent comments from the Lam_ report are addressed below: ’

' 1. Lam: "'l'he origin ofthe force that starts the failure of the north masonry column is
' related to (Descon' s) demolition means and methods. " l agree.

' : 2; Lam_: "'l'he origin of the force that starts the failure of the north masonry column is
` _ _ related to the demolitionl means and methods ..lt could be excessive force from the high
z ` i impact chipping hammer workingl on the concrete frame" l agree that the chipplng
hammer could have exerted a horizontal_, or high impact horizontal force, by eccld_ently
ramming` the N|ain Building structure while moving the chipp_ing hammer.

'3. Lam: 'FThe outward movement o'f the concrete column creates a lateral (o_r horizonte|)
force on the masonry column." l agree

4. Larn: "The hollow and unreiniorced masonry column is subjected to axial and lateral
(horizontal) force and does not take long to buckle and collapse Wlth the collapse `of
the first masonry column the adjacent clay tile and brick wall panel starts to fail and
move outward (in this case from east to west) because there no connection between
the wall and the siab. " Actually, t_h_e floor slabs would have most likely been connected
directly to the masonry/clay tile walls via "U" or open lintel_ blocks located directly
beneath the second floor and roof slabs. This type of construction allows horizontal
loads such as wind loads, to be transferred lnto the concrete floor and roof slabs and
resisted throughout the building since the floor slabs serve as load transferring
"dlaphragrns. S_u_ch diaphragm action ls also resisted by the horizontal shear strength of
the interior concrete columns. l -

5. Lam: "A_s a result of the fallure of the columns and wall, the slab and concrete beams
above are losing support and start to deflect and rotate. At the same time, the weight
of slab and wall above starts to shift to the other masonry column and overloads the
column and wall panel When the beams lose the center supports', the slab starts to _i:
deflect downward under its own weight and suffers both shear and flexurai failures

n When the second floor beam and slab fails the load bearing wall supporting the roof
structure starts to fall causing failure in the roof slab similar to the floor slab. The
structure finally reaches equilibrium when the slab collapsed and detached from the
end walls and the beam pulls out from the masonry po_.ckets " l agree to this force

. ' mechanism in general. As the construction materials collapse, the forces are not only

l ' directly downward Wlth the twisting and turning of the slabs, beams and columns the
materials fall _wlt_h 'a horizontal component that presses westward all the way through

_ the west end of the building exerting shear loads on the floor diaphragms.

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6. Lam: "lt is evident that the collapse of the second floor and roof slab and beams are the
result of structural failure of the columns and load bearing walls." l_ agree

7. Lam': '."The lack of expansion joint between this concrete column and masonry column
; supporting the Ma_l_n Bullding allowed the two columns to bond together. “ i agree_,
although l am not certain it applies to the ultimate outcome Thls condition would have
been exposed had l.arn conducted propertesting prior to the time that design
1 documents had been prepared

8. §Lam: (At the llnks), "-the newer concrete columns were cast against the existing

masonry walls and columns without expansion joints and the columns were plastered_
together and creating a bond between them. This condition does not allow the columns
to move independently and allows force transfer between them, and as a resu|t, impact z 1
from the shipping hammer hitting the concrete column in the Llnk could have created
distress in the masonry column in the Main Bullcllng. “ l agree On Lam' s drawing sheet ;
5102, it can be seen that Lam s preliminary report had failed to disclose the presence of
or lack of an expansion joint at grid line 15 (see Exhibits 12 13, and _14). On E`xhibit 12, _
Lam notes “Contractor to field verify e)ilstln'g condition and contact Str`uctura| Eng|neer" f l §
but the note is not clear and ci`oes not indicate what the Contractor should be looking 4
for. The plans are incomplete in professional engineering practice, the engineer would ;,
be aware of thei hazards of demolishing a narrow "Ll_n_k" structure between two v
buildings that are to remain if_ the link siab is connected to either the |Vlain Building or
the East ior West) Building, forcibly removing slabs with _a chipping hammer lins'tead of

; sawcut-tlng_ the Link slabs away) would be a very high risk proposition ln this case, the '
contractor s actions collapsed the east portion of the building and resulted in damage
throughout the building.

5.4 F'uil extent of damage

The lateral forces exerted b_'v the combination of the impact hammer and/or falling
construction debris at the _ea'st end of the building, exerted enough horizontal force _to crack
almost all the basement, first and second floor columns in the |Vlain Bulldlng, as well as some
columns ln the East and West buildingsl The only evidence of "deterioration" from water
appears from photographs to pre- -exlst at portions o_f the concrete wall in the basement

The cracking that appears in then bottoms of the concrete columns in the photographs is the
result of lateral shifting of _th_e horizontal concrete floor and roof dlaphragms_, lnstead of the
result of ax_i_al loading_s on the vertical axis of the column. For example, compare those
photographs with the photographs shown' in Exhlbit 1_5 which shows typical cracking patterns l_n
the middle portions of_ columns subjected to axial loads.

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On February 8, 2011, to repair the columns, Descon submitted a Request for information
023 stating: "De|ta Structura| Tech. is preparing the Basement columns from all failing concrete,
cleaning exposed steel, forming and pouring new epoxy repair mortar as requested and
wrapping each column with Tyfo's SEl-i-Sl Fiberwrap composite and epoxy matrix, as the
columns are being cleaned the columns are deteriorating more than what was anticipated
De|ta Structural Tech. has requested to shore up the Concrete Beams pleas have Structural
engineer review pictures included and come by the job site to provide us with a fix and repair."

Franl< Lam responded on February 13, 2011: "The total axial load of the typical interior
column ls '180 kips service load and the shear is 12 klps. Delta structural is to provide
engineering design and details for repair and flberwrap of the columns prepared by a P.E. for the
review by the Engineer of Record. De|ta structural engineer shall perform site visit to confirm
the condition and loading of the columns prior to engineering design. The columns shall be '
temporarily shared from the basement up to the floor up to the roof structure."

in my opinion, the note about shoring should have been added to the plans before the
project had been bid.

6.0 lekus report dated .|anuary 21, 2011

On lanuary,18, 2011, iVir. Bruce l. iViorris, PE of lekus Consulting' Group, lnc., conducted an
on-site inspection of the damage that had resulted from the September 22, 2010 structural
collapse of the east end of the Main Buiiding at the PSiA lSD school. Niorrls wrote: "...lekus
was retained by Chubb insurance Company to determine the limits of intended idemo|itioni
M_ to be performed by the contractor and to determine the extent of damage to the building
outside of those limits as a result of work being performed by the contractor.

 

The limits of intended demolition work involved the east "link" separating the east end of
the Nlain Bui|dlng from the East classroom bullding. Mr. Niorrls arbitrarily established the
portion of the building west of those “|ink" limits to comprise the second floor and roof area
between the east end of the l\/lain Building to column line l -- portions of the Main Bul-ldl'ng that
had actually collapsed. ' ‘

Mr. Niorrls arbitrarily excluded the vast portion of most of the remaining portion of the
damaged Maln Buliding for np proper scientific engineering reason. Subsequently, damage was
discovered in areas outside of the limits established by Niorrls. For example, the basement
columns were found to be so Weakened by the thrusting action of the forces generated
throughout the building as a result of the collapse that ultimately the columns had to be
reinforced in addition, damage was discovered at the brick roof parapet. See Exhib|t 16 and
Exhlblt 17. The parapet had to be repaired. Damage to these areas were open and obvious to
Nlr. Niorrls had he conducted a proper assessment of the limits of damage

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i`n' my opinion, Mr. iviorris' actions were misleading and negligent, causing the PSJA lSD to
expend money oh change orders that it otherwise would not have had to pay.

Mr Niorrls addressed the west end of the building stating ipage 5): "inspecti_on of the west
end of the main building indicated the concrete columns at the sides of the west exit ended near
the level of the first fio'or, with masonry columns extending above that leve_.i We observed
cracking In the masonry columns on both sides _o_f the exit above the first“floor level Concrete
columns had been installed at the exterior of the main building for the waikway... (an.d) there j
was evidence of movement of the brick veneer on the first floor at the northern portion of the
west wall of the main building " Se`e Exhiblt 18.

On March 8 2011`, iVlr; M_orrls provided a supplemental letter on behalf of Rirnk`us and
Chubb, responding to whether the work contained within a cost Estim_ate_ was within the scope
`of damage determined to be a result of the partial collapse of the building Actuaily the entire
area between the east and west end of the building was damaged to varying extent and not just
to the narrow area with the arbitrary limits established by Mr. Niorrls in the ianuary 18 2011
repor.t.

7.0 Groundw.ater Iss'ues ‘

The basement of the Maln Buiiding had evidently previously flooded at one time (see Exhibit
_19) and moisture intrusion inside the basement has continued to be a problem.

_ Had i.arn read the Raba Kistner gaotechnica| reports correctly, Lam could have taken the j
necessary precautions When designing the elevator pit and could have notified ERO of the
potential impact of moisture into the basement concrete slab

7.1- R`aha Kistner Geoter:hnlcal report dated May 8, 2009

On May 8, 2009, F.RO contacted the Dlstrict to request that a geotechnica| engineer conduct
25 feet deep soil borings on the campus site stating: "Plea_se have the Geo_techn_ical Engine_er
confirm and coordinate the number and locations with us " Uitirnateiy, none _of the borings
requested were made near the pre-existing main building Frank i_.am had not yet been `
retained by ERO as a consultant to' help advise as to where the borings were to be located;
however ERO has a professional engineer on staff so lt can be assumed that the ERO engineer
set the boring locationsj.

On Aug'ust 4, 2009, Ra_b'a Kistner_ Consuitant_s, inc. released its geotechnicai report on Proiect
No. AMAO_S _057_-01 pertaining to "Subsurfac`e Reconnai_ssance Study; F_uture Bu|iding Additions; :
PSJA lSD Early College High Schooi Campus .statlng "The purpose of this study was to perform
a subsurface reconnaissance study within the subject site, t`o_ perform laboratory testing on ‘
selected samples to classify and characterize subsurface conditions, and to prepare an

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` engineering report presenting subsurface conditions and preliminary construction
considerations.“ `

Groundwater was encountered in some of the borings during the drilling operations. The
shallowest water level was at boring B-7 where the approximate depth of groundwater
encountered during the drilling operations was 13.5 feet. "At the end of the field activities, the
boreho|es were noticed to have caved-in to the depths described |n the logs of borings lt is
possible for groundwater to exist beneath the site at shallower depths on a transient basis
following periods of preclpitatlon. '

The "Preliminary Foundation Considerations" portion of the report notes that the site has
relatively flat topography and special surface drainage features may be required to handle large
quantities of surface water run-off associated with the topography at this site."

7.2 Raba Kistner Geotechnical report dated lanuary 20, 2010

ERO and Frank Lam & Associates, lnc. had reached their agreement on or about September
8, 2009.

On January 20, 2010, Raba Kistner Consultants, lnc. released another report stating: "The
purpose of this document is to provide supplemental recommendations to our subsurface
reconnaissa nce study dated August 4, 2009...pertalnlng (to) deep foundations systems for the
proposed main building additions at the above-referenced project site.“

Continuing: "On the basis of the foundation plans provided to our office ...on December 10,
2009 by Mr. Zach Lindauer, with Frank Lam and Associates, lnc. the project's structural '
engineering flrm, we have been asked to provide recommendations for a deep foundation
system for the south, east, and west additions to the main bulldlng; situated adjacent to the
east and west wing buildings, and the library building at the existing school campus."

Raba Kistner wrote: "Drainage Considerations: considerations of surface and subsurface
drainage may be crucial to construction and adequate foundation performance of the sol|~
supported main building additions. Filllng excavations in relatively impervious clay soils with
relatively pervlous select fill material creates a "bathtub" beneath the proposed main building
addition structures, which can result in pondlng or trapped water within the fill unless good
surface and subsurface drainage is provided." `

Under "Temporary Caslng" , the report (page 9) states: “Groundwater was observed in the
borings at the time of our original subsurface exploration activities at depths ranging from about
13-1/2 ft to 23 ft below the ground surface elevations existing at the time of our study. The
groundwater depths across the site are likely to vary based upon climath conditions

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W|`th the priorjhistory of water observed by others inside the building,' Lam would have _
known that the ground water would rise depending on the climate conditionsl Lam failed to
exercise proper diligence in taking measures that would warn ERO, at a minimum, that there
was a potential for flooding inside t_h_e elevator pit as well as _ln the basement that already had a
floor elevation approximately five to _le feet below grade

8.0 Da_ma'ges Matrix

Refer to the Tab|e 1 D`amages |V|atrix attached as Exhibi`t_`ZOj.'

9'.0 Con¢§:lusions

1. it is my professional opinion that Nir. Frank Lam, P.E. and Frank Lam & Associates, inc. is
responsible for at least the following act, error, or omission that exists on the _Proje'ct:

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2 Faii`ing to undertake a more thorough Investigation and determination of the structural

integrity of an existing building for future modification and existing conditions of the f 5
facilities On Sept_ember 8, 2009, Je`sus V.iDeig`ado of ERO sent 1a ;"Le_tter Afgreement for

z lSt:r`uctura'| Eng`ineer.ing" on the Pro]ect. The agreement contained onerous terms §

requiring iVlr. Lam to perform initial engineering services involving conducting a
structural evaluation and report for a ;fe_e of $10,94_0.00 which was less than half the
$.27,200;00 amount budgeted by ERO and much less than the $40,000.00 fee :
recommended by Terrag‘on,` another engineering firm'. Nevertheless, Nlr. Lam accepted
the commission instead of walking away.j

Th`e` Septem_b_er 30', 2009 report prepared by Mr._ _l_._arn was based on cursory ;

obse rvations_. The engineering report was to have included an "evaiuatlon of the
existing structure and discussion of the issues related to_ renovations of the existing
buildings and provide recommendations for the structural system of the proposed
building additions_." i-l'owever,' the report stated "The condition of the structure, the y
framing system, and the structural evaluation ofjth.e existing buildings are based on s_ite;
observations of the exposed structural members and our past e):<'perl_ence on similar

1 buildings "- Lam evidently did not do any exploratory testing, such as` having an

assistant present to chip or drill into suspected concrete o'rf tile column locations to
determine what materials had been used or to determine if the exterior walls were load
bearing clay tile, vintage for the era the building was built, or fu.i|=concre`t_e structural

frame with concrete floors and concrete columns as he ultimately evidently assumed

The Lam report;stat`ed: "'Base_d on our_ site observation,§the buildings were constructed
of concrete siab, beams and columns as primary structural members Th_e exterior of
the buildings were constructed with masonry and stone..,:.in general, we;beli_e,ve' that _
the existing structures are in good condition for the ninety year ol_d buildings and the

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proposed building additions should not affect the structural integrity of the bulldlngs."

On September 22, 2010 a structural collapse occurred at the east end of the Main
Bulid|ng at the Project site. The contractor had been demolishing a narrow "iink"
building attached to the Main Buiiding and adjacent to another building located further
east. On October 18, 2010 another Lam-generated report stated: ”T he concrete slab
and beams at the second floor and the roof are partially supported by masonry columns
at the building corners and at the entrance corridor and partially supported by exterior
load bearing masonry wall which is constructed of brick veneer and clay tiles." From his
observations made after the collapse, Mr. Lam was admitting that his September 30,
2009 report based on his evident assumption that the Main Building had a full concrete
structural frame with concrete floors and concrete columns was incorrect and instead,
the building was a combination concrete interior column and interior slab frame with
the perimeter of the building constructed with load bearing clay tile which is much more
fragile during this particular demolition project involving removing a narrow building
sandwiched between two existing buildings that are intended to remain in place.

Furthermore, as the project's structural engineer, iVir. Lam was negligent in not
preparing instructional demolition plans and being present on the site every day that
demolition operations were underway, to guard against careless actions of the
contractor and assure that braces were installed against the wall and at the floors to
protect property and personnel and guard against improper contractor procedures.

2. Based on my ed ucation, experie nce, and a review of the relevant Documents, it is my
professional opinion that Mr. Bruce L. Morris, P.E. and Rimi<us Consulting Group, inc. are
responsible for at least the following act, error, or omission that exists on the Pro]ect:

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On ianuary 18, 2011, Mr. Bruce l, Morris, PE of Riml<us Consulting Group, lnc.,
conducted an on-site inspection of the damage that had resulted from the September
22, 2010 structural collapse of the east end of the l\/iain Building at the PSJA lSD school.
Morris wrote: "...Rimkus was retained by Chubb insurance Company to determine th_e_
limits of intended idemoiitioni work to be performed by the contractor and to

determine the extent of damage to the building outside of those limits as a result of
work being performed by the contractor.

The limits of intended demolition work involved the east "iink" separating the east end
of the Main Building from the East classroom building. iVir. Morris arbitrarily established
the portion of the building west of those "iink" limits to comprise the second floor and
roof area between the east end of the Main Bui|ding to column line 1 ~~ portions of the
Main Bui|ding that had actually coilapsed.

Mr. iVlorris arbitrarily excluded the vast portion of most of the remaining portion of the

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damaged i\_/iain _Build|ng for no proper scientific engineering reason. Subsequently,
damage was discovered in areas outside of the limits established by Morris. For
examp|e, the basement columns were found to be so weakened by the thrusting action
of the forces generated throughout the building as a result of the collapse, that
ultimately the columns had to be reinforced in addition, damage was discovered at the
brick roof parapet and the parapet had to be repaired. Damag_e to these areas would
have been open and obvious to Nlr. Morris had he conducted a proper assessment of
the limits of damage

di in_' my opi'n|o`n`,:i\j/'|_`r_.§ Morris" actions were misleading and negligent causing t`he:P$JA lSD z
to expend money on change orders that?Chu`bb otherwise would have been required to §
pay. '

j el lVl`r. Morris addressed the west end _of the building stating (page 5): “|nspectlon"of the
l west end of the main building indicated the concrete columns at the sides of the west:

j exit ended near the level o'f the first floor, with masonry columns extending above that 1
|evel. W_e observed cracking in the masonry columns on both sides of the exit above the
first-floor level Concrete columns had been installed at the exterior of the main
building f_or the walkway.`.. (aridi there was evidence `of movement of the brick veneer
jon the first floor at the northern portion of the west wall of the main building."

fl A photograph provided by project engineer Frank L_am clearly shows that the joints of

the building frame at what is believed to be west end intersection of the referenced

l masonry column at both the first and second floor concrete slab had partially failed as a
result of the lateral force exerted, from east to west, horizontally through the second
floor slab system as _a result of the collapse of the link attached t_o the east end of the
buildin_g, against the east end of the Main Buiiding Thiis the entire area between the

l east and west end off the Main Building was actually damaged to varying extent by the___:
collapse and not just to the limited area with the arbitrary limits established by ivir.
Morris in his january 18, 2011 report

g) 0n i\/iarch 8 2011, Mr. Morris provided a supplemental letter on behalf of Rimkus and
' Chubb, responding to whether the work contained within a cost Est`imate was within the
scope of damage determined to be a result of the limits established by Rimkus. The 1 -- ';
Est|mate was based on a faulty limit of damage determination provided by Mr Morris

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TABLE 1
DAlVlAGES MATR|X
A. Costs directly related to building collapse
Date Reference Description Cost

10/27/2010 CP 015 Fix, repair and strengthening of columns at 50,886.00

basement
12/22/2010 CP 020 Fix, repair & strengthening of 12 columns at 69,787.00

basement
4/22/2011 CP 025 Add additional strength via FRP to the original 12 158,310.00

concrete previously scheduled and 33 additional
columns found to be in bad conditions by the
structural engineer. Adust $186,523 cost to
$158,301 per CCD7 5/3/11 CP 025

1/17/11 CO 001 Remove and build east and west side walls 522,726.00
CP026 Repair stair nosings in east and west side and 26,115.00
front lobby.

CP023 Fix parapet walls 57,000.00
CP 031-R CP 031-R furrouts, parapets, steps and ramp, 15,066.00

parapet due to change in roof slope
11/7/2011 CP 031 Various reconstructive construction items 56,770.00
Sub-tOtal 956,660.00

B. Costs directly reated to‘ basement slab moisture
Date Reference Descriptlon Cost

8/2/12 CP 004 On August 7, 2013, Raba Kistner tested concrete 15,650.00
slab moisture & readings wee 2.6 to 3.91 lbs of
water over 1000 sf in 24 hrs. 8/ 2/ 2012 S|ab
moisture remediation and topping system and
removal of cork.

Sub ~ total . 15,650.00

GRAND TOTAL 972,3 l0.0_O

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PART‘| GENERAL
‘|,01 SEC`l'lON lNCLUDES

A.
B.

Selective demolition ot built site elements
Seiective demolition of building elements for alterations purposes

1,02 RELATED REQU|REMENTS

A.
B.

C.

J.

Section 01 1000 - Summarv, Limitations on Controctor's use of site and premises

Section 01 1000 - Summary: Descriptlon of items to be salvaged or removed for reuse by
OWner .

Seciion 01 5000 - Temporarv Facilities and Controls: Site fences, security. protective
bamers, and waste removal

Section 01 6000 - Product Requirernents: Handling and storage of items removed for
salvage and relocation

$ection 01 7000 ~ Exocution and Closeout FteoiuirernenlsA Proiect coridilions', protection of
bench inerks, survey control pointsl and existing construdion to remain; reinstatlation of
removed products

.'S.ection 01 74‘|9 - Conslmi:tion Weste Management and Disposei: Lirnitations on disposal
of removed materials; requirements for recycling

Section 31 1000 - Siie Cteoring: Vegetation and existing debris rernovel.
Section 31 2200 - Grading: Topsoil removal

Section 31 2200 - Gradlng: Fil| material for filling holes, pits, and excavations generated as
a result of removal operations

Sect`ron 31 2323 - F`rll: Fil| material for iii ling holes, pits, and excavations generated as a
result of removal operations -

1.03 REFERENCE STANDARDS

A.
B.

29 CFR1926 » U.S. Occupational Safety and Heaith Stondards; current edition

YSOF;A 241 ~ Standord for Saieguarding Construction, Alteretion` and Denrolition Opereiions;

1.04 SUBM|TTALS

A.
B.

02 4100

See Section 01 3000 - Administrotive Reouirements, for submittal procedures

Site Plen: Slrowing:
'l. Vegetotlon to be protected
2. Areas for temporary construction and held oflices.

Demoliliorr Plan; Subrnit demolition plan as speciiied by OSHA and local autinoritiis)el

1_ indicate extent ot r;lernolitionl removal sequence bracing and shoring_ and location and
construction 01 barricades and frances

2. identify demolition firm and submit quailiicolions.

3. include a summary ot safety procedures

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PSJA |$D T~STEM EARLY COl-.LEGE HlGH SCHC>OL Eito Arciunoo
(Old model Mldr:lle school) ~ FHA$E! Pro§ect No.tlstlor
RENOVATIONS AND ADDt'l`lONS PSJA lSD 'CSP #09-10M6

Fltarr - S:m Juan - mmc independent school Distrlc/t

D. Project Record Doci.irnents: Accuretely record actual locations of capped end active utilities
end subsurface construction

1.05 QUALITY ASSURANCE

A. Demolition Flrm Ouniil`lodtions: Company specializing in the type of work required
1. Minimum of '5 years or documented experience

1 .06 PROJEC`F CONDlTlONS

A. Mi_riimize production of dust deere demolition operations do not use water it that will result
in ice` flooding sedimentet`ion of public waterways or storm sewers. or other pollution

PART 2 PRODUCTS
2.01 MA'l'ERlALS
A, Fi`ii Materi'al: As speci'iied in Section 31 2200 - Gradrng
PART 3 EXECiJTtON
3.01 SCOPE
A Remove paving and curbs es required to accomplish new work
B. Remove all paving and curbs within construction limits indicated on drawings

C Witliin area ot new oonstriictiori, remove foundation wells and footings to a minimum of 2
feet below finished grade

D. Remove concrete slabs on grade within construction limits indicated on drawings
E. Remove other items indicated for salvage relocation end recycling.

F. F`il| excavations open pits, end holes in ground areas generated ns result ol removnis, using
specified tii|; compact iill as required so that required rough grade elevations do not subside
within one year after cmnpletiori.

3.02 GENERAL PROC EDURES AND PROJECT COND'|TIONS
A. Corrip|y with other requirements specified iri Secoon 01 7000.

B Comply wiui applicable codes and regulations ror demolition operations end solely of
adjacent structures end the public

Obtein required permits

Comply with applicable requirements of N|'~PA 241.

leB of explosives is riot poin'dtlod. -

Telre precautions to prevent catastrophic or uncontrolled collapse of structures to be

rerrioiied'. do not allow worker or public access within range el potential collapse ol

unstable structures

Provwe, erectl and maintain temporary barriers and security devices

Use physical barriers to prevent access to areas that could be hazardous to workers or

the public

Conducl operations to minimize eltects on and interference with ediecent structures and

occi.tpents.

00 not close or obstruct rmdways or sidewalks without permit

Conduct operations to minimize obstruction of ptibiii: and private simon cos and exits;

do not obstruct required exits et any Lime; protect persons using entrances and exits

from removal operations

10. Obtein written pennission from owners of adjacent properties linen demolition
equipment will traverse inlringe'upon or limit access to their property

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02 4100 ~'DEMOLIT\ON Page 2 014

 

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Reuovnnons AnvoomoNs PSJA '59 CSP #°9~"1°°6
Fhan' - Ban Juar\ » Altimo independent School Distriet

C. Do not begin removal undl receipt of notification to proceed from PSJA independent Sciiooi
Dietrict,

D. Do not begin removal until vegetation to be retocoted ties been retrieved end specified
measures have been taken to protect vegetation to remain

E_ l?rotect exjeting structures and other eien'ients that are not to be removed
fit Provide"bracing and slioring.

"2=. Prevent movement or settlement ot ediaoent structured
3. Stoip work imrnediateiy if adjacent structures appear to be in danger

F Minimize production oi duei due to demolition oi:rerotions'l rio nol use water if that will result
in ioe, dooding` seclimentetiorr ot public waterways or storm sewers, or other pot|ution.

G. lt hazardous noterio|e ore discovered during removal ooerotions, stop work end riotin EF£O
i-'irttrilects and PSJA independent Schoo| l.`irsirici; hazardous materials include regulated
asbestos containing materiais, ieod, PCB's, and meroury.

H. Pertorm demolition in a manner that maximizes salvage and recycling ot materials

t. Compl-y with requirements or Section 01 7419 - Waete Merngenont.
Partial Removei of Peving and Curbs: Neatty saw cut at right angle to surface

3.03 EX}ST!NG UT|L|T|EB

A.

G

Ooordinare work with utility compenies; notify before starting work end comm with their
roquirements; obtain required permits

Protecl existing utilities to remain from damage.
Do not disrupt public tmiities without permit from authority having jurisdiction

Do not closel shut off, or disrupt existing lite safety systems that are in usa without at least 7
days prior written notiooetion to PSJA independent School Dietrict.

Do not ctose_ dart off. or disrupt existing utility branches or tekeofis that ore in use witho
at least 3 days prior written notification to PS A independent Sctioo| Dlstr'ict -

l.ocate end mark utilities to rernein; mark using highly visible legs or tiegs. with identiticalioo
di utility typa; protect from damage due to mosequent constructionl using substantial
barricades if neceesow.

Remove exposed piping, valves, meters, equipment supports, and foundations ot
disconnected and abandoned utilities

3.04 SELECT'IVE DEMOLIT!ON FOR ALTERAT|ONS

A.

02 4100 -

Drnwings showing existnig construction end utilities ore turned on casual nolo observation
end existing record documents onlv_

t Verit‘y diet construction and utility arrangements ore as shown

2. Fteoort discrepancies to ERO Architects belore disturbing existing installation

3. Eleg'inning of demolition work constitutes acceptance ot existing r:onditir:rnel

Romove existing work as indicated and us required to accomplish new work

'i. Remove rotted wood, corroded metels, and deteriorated masonry and concrete', replace
with new construction specified

2. Remove items indicated on drawings

Servicee {|ncluding but not limited to HVAC, Ptumbing, Fire Protection, Elrav~:t'ricel4 end

Telecommunicetionsl: Remove existing system end equipment as indicated

t. Merntain existing active systems that era to remain in operation'_ rneintom access to
equipment and operational mmponenie.

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RENOVAT|ONS AND ABD¥T|°NS pSJA lSD CSF' NQ»W-W€

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D.

2. Where existh active systems serve occupied facilities but aro to be reptocod with new
sewices, maintain existing system in service until new systems ore comptete and
ready for service

593 Soction 01 1000 tor other limitations on outagos and required notifications.

verify that abandoned services servooniy abandoned iadiities betore romat.
Removo abandoned pipo‘ ducts, oonduits, and equtprnont, including those above
occasstbte ceilings remove back lo'sourco ot supptv where possiblo, otherwise cap
stub and tug with identitioat`ron_

Proter.t existing work to remain

1 Prevant movement ot stmcture', provide shoring and bracing rf rverr::os.s;ar\,,~l

2. Partorm cutting to accomplish removals noativ and as specified lor cutting new work.
3. Ropoir odiocont construction and finishes damaged during rotrrovol work

4._ Potc.h ns specified for patching mw work.

umwa

3.05 DEBR\S AND WABTE REMOVAL

A.
B.

C.

Remove debris, junk., and trash from site.

Remove from site ali matunats not to be reused on site; compty with requirements ot Section
01 7419 - Waste Managament

t_eave site in cie-an condition ready for subsequent wottt..
Ctenn up spillage and windan debris from public and private lands

END OF SECT\ON

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Photo 4

 

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Photo 6

 

 

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Photo 12

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Photo 3

Photo 4

 

 

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PSJADamages|\/|atrle82815

TABLE 1
DAMAGES MATR|X
A. Costs directly related to building collapse
Date Reference Descriptlon Cost

10/27/2010 CP 015 le, repair and strengtheningl of columns at 50,886.00

basement
12/22/2010 CP 020 Fix, repair & strengthening of 12 columns at 69,787.00

basement
4/22/2011 CP 025 Add additional strength via FRP to the original 12 158,310.00

concrete previously scheduled and 33 additional
columns found to be in bad conditions by the
structural engineer. Adust $186,523 cost to
5158,301 per ccm 5/3/11 cP 025

1/17/11 CO 001 Remove and build east and west s|de walls 522,726.00
CP026 Repair stair nosings in east and west side and 26,115.00
front lobby.

CP023 F|)< parapet walls 57,000.00
CP 031.-R CP 031-R furrouts, parapets, steps and ramp, 15,066.00

parapet due to change in roof slope
11/7/2011 CP 031 Various reconstructive construction items 56,770.00
Sub-total 956,660.00

B. Costs directly reated to basement slab moisture
Date Reference Descriptlon Cost

8/2/ 12 CP 004 On August 7, 2013, Raba Kistner tested concrete 15,650.00
slab moisture & readings wee 2.6 to 3.91lbsof
water over 1000 sf in 24 hrs. 8/ 2/ 2012 S|ab
moisture remediation and topping system and
removal of cork.

Sub - total 15,650.00

GRANo rorAL , 972,310.00

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Irene B. Thompson

QUALlF|CATlONS OF THE APPRA|SER
lRENE B. THOMPSON

tate LI nsl nd Certlfl n
L|censed by the State of Texas as a Generai Rea| Estate Appreisor: Llconee Number TX-1336175-G

Mll

Graduate. Weslaoo High School, May, 1992

Three years education toward Bacho|or of Arts in History end Phiiosophy, Brown Univers|ty, September, 1992 through
May, 1995

Contlnuln| Educatlon in Real Estate and Appralslng at The Appraleal lnstitute, Llncoln Graduate Center, The Coiumb|a
|nstitute, Trln|ty Univers|ty, Lon Morris College, and Geo Leonard Schoo| of Rea| Estate.

salon lE a nce

irene Thornpson has been associated with Aguirre & Fattereon, inc. irom Bopiember` 'lBBB, to the preeent. Ae an
independent sppraiaer. Mre. Thompson has gained valuable experience appraising various types ol' properties
throughout the Rio Grende Valley. The following is a list of the types of properties Mrs. Thompeon has appreieed: single-
tarnily residences, multl-iamily apartmente, residential condominiums, residential loile. unimproved land tracts.
eubd|vlslone, right of waye, easemente, dlne-ln and fast food restaurantsl condominium shell fsciiitiae, single-tenant end
multi-tenant retail conters, professional business conters, commercial bulld|ngs, convenience stores, professional
ofilces, medical cilnlcs, assisted living centers. rehabilitation hospitals, banquet halls, community centers. churches.
public schools, charter schoola. adult and child day care centere. officeiwerehouees, distribution \lllareheuaesl
manutacturing warehoueee, condominium warehouses, cold storage facll|tlss, cement plante. farma. ranchae, mote|s,
hotele. mobile horne and FW perka, unimproved commercial iota, self-service and automatic car washea. government
tec||ltles eub}ect to GSA leaaee. golf coursee, auto eerviceiquiclt lube auto shope. and leasehold eatetec.

Irene B. Thompson

3315 N. McCo|| Road

McAllen, TX 78501

Phone: (956) 686-4532

Fax: (956) 686-6011

E-mal|: irene@aguirreandpatterson.com

 

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(clkol Texibook Bui|ding)

714 E. US Business Highwoy 83
Pholrr, Texois 78577

 

Preporecl Fo r

Mr. Rene Compos

PHARR.-SAN JUAN-ALAMO lSD
601 East Kelly Avenue

Phorr, Texc\s 78577

Date of Report
October 13, 20i4

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